                                                                                                                                                                                            Page:       1
                                                  Case 8:15-bk-10426-CPM               Doc 75        Filed 04/27/18             Page 1 of 14
                                                                               FORM 1
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES
Case No:             15-10426                       CPM    Judge:        Catherine Peek McEwen                        Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:           JAWAHARLAL KOTHA                                                                                 Date Filed (f) or Converted (c):   10/14/2015 (f)
                     POORNIMA KOTHA                                                                                   341(a) Meeting Date:               11/17/2015
For Period Ending:   03/31/2018                                                                                       Claims Bar Date:                   02/25/2016


                                  1                                     2                            3                             4                          5                             6

                         Asset Description                            Petition/                Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled            (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                      Values                Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                Exemptions,                                                                               Assets
                                                                                              and Other Costs)

  1. HOMESTEAD: 20617 WHITEBUD COURT TAMPA, FL 33647                        217,993.00                   217,993.00               OA                                      0.00                        FA
     *OWNED JOINT
  2. RENTAL PROPERTY: 7765 75TH WAY NORTH PINELLAS                          174,020.00                   174,020.00                                                       0.00                        FA
     PARK, FL *OWNE
  3. RENTAL PROPERTY: 7383 UNIVERSAL BLVD. UNIT NO.:                         45,966.75                    45,966.75                                                       0.00                        FA
     1108 ORLANDO
  4. CASH ($2,320) *OWNED JOINTLY WITH SPOUSE.                                1,160.00                     1,160.00                                                1,160.00                           FA
  5. BANK OF AMERICA CHECKING (6383)                                          6,411.67                     1,602.92                                                1,602.92                           FA
  6. BANK OF AMERICA CHECKING (7200) TOTAL BALANCE =                          2,089.72                         0.00                                                    261.21                         FA
     $2,089.72 *O
  7. BANK OF AMERICA SAVINGS (9173) TOTAL BALANCE =                           9,143.71                         0.00                                                1,142.75                           FA
     $9,143.71 *OW
  8. BANK OF AMERICA BUSINESS CHECKING (1478)                                      20.47                     20.47                                                      20.47                         FA
  9. WELLS FARGO CHECKING (6878) TOTAL BALANCE =                                   12.74                     12.74                                                      12.74                         FA
     $25.47 *OWNED JO
 10. WELLS FARGO CHECKING (7579) TOTAL BALANCE =                                  500.25                    500.25                                                     500.25                         FA
     $1,000.50 *OWNED
 11. REGIONS CHECKING (3210)                                                      104.65                    104.65                                                     104.65                         FA
 12. PNC BANK CHECKING (0177)                                                     407.70                    407.70                                                     407.70                         FA
 13. REGIONS SAVINGS (8125) TOTAL BALANCE = $106.11                                53.06                     53.06                                                      53.06                         FA
     *OWNED JOINTL
 14. PNC BANK SAVINGS (5729)                                                        0.00                       0.00                                                       0.00                        FA
 15. PNC BANK SAVINGS (9341)                                                        2.00                       2.00                                                       2.00                        FA
 16. WELLS FARGO BUSINESS CHECKING (2599) TOTAL                                    48.26                     48.26                                                      48.26                         FA
     BALANCE = $96.52
 17. TRADESTATION UTMA/UGMA CUSTODIAN ACCOUNT                                       0.00                       0.00                                                       0.00                        FA
     HELD BY DEBTOR FOR
 18. BUSINESS CHECKING HELD BY BANK OF AMERICA                                     36.38                     12.01                                                      12.01                         FA
     ($36.38) *THIS WAS
 19. HSA ACCOUNT HELD BY OPTUM                                               12,411.21                         0.00                                                       0.00                        FA
                                                                                                                                                                                           Page:       2
                                                  Case 8:15-bk-10426-CPM               Doc 75        Filed 04/27/18            Page 2 of 14
                                                                               FORM 1
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES
Case No:             15-10426                       CPM    Judge:        Catherine Peek McEwen                       Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:           JAWAHARLAL KOTHA                                                                                Date Filed (f) or Converted (c):   10/14/2015 (f)
                     POORNIMA KOTHA                                                                                  341(a) Meeting Date:               11/17/2015
For Period Ending:   03/31/2018                                                                                      Claims Bar Date:                   02/25/2016


                                  1                                     2                            3                            4                          5                             6

                         Asset Description                            Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                      Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                Exemptions,                                                                              Assets
                                                                                              and Other Costs)

 20. 3 BEDS AND A DAYBED ($235), 2 DRESSERS ($65), 4                          1,752.25                     752.25                                                     752.25                         FA
     NIGHTSTANDS
 21. MIRRORS AND WALL ART ($500.50); PLANTS ($19.50);                             332.50                   332.50                                                     332.50                         FA
     BOOKS ($145
 22. CLOTHING & APPAREL                                                           200.00                   200.00                                                     200.00                         FA
 23. RING ($60)                                                                    60.00                    60.00                                                      60.00                         FA
 24. GOLF CLUBS ($40), CAMERAS ($30) AND BICYCLES ($50)                            60.00                    60.00                                                      60.00                         FA
 25. AAA TERM LIFE POLICY (DEBTOR IS THE INSURED;                                   0.00                      0.00                                                       0.00                        FA
     DEATH BENEFIT O
 26. GROUP UNIVERSAL LIFE TERM LIFE POLICY (DEBTOR IS                               0.00                      0.00                                                       0.00                        FA
     THE INSURED
 27. LINCOLN BENEFIT TERM LIFE POLICY (DEBTOR'S                                     0.00                      0.00                                                       0.00                        FA
     SPOUSE IS THE INS
 28. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (DEBTOR IS                          5,239.00                        0.00                                                       0.00                        FA
     THE INSURED;
 29. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (TJ KOTHA                           4,761.00                        0.00                                                       0.00                        FA
     IS THE INSURE
 30. UL MUTUAL OF OMAHA WHOLE LIFE POLICY (DEBTOR'S                           5,162.00                        0.00                                                       0.00                        FA
     SPOUSE IS THE
 31. MUTUAL OF OMAHA TERM LIFE POLICY (DEBTOR IS THE                                0.00                      0.00                                                       0.00                        FA
     INSURED; DEA
 32. GROUP UNIVERSAL LIFE TERM LIFE POLICY (DEBTOR'S                                0.00                      0.00                                                       0.00                        FA
     SPOUSE IS TH
 33. MUTUAL OF OMAHA TERM LIFE POLICY (DEBTOR'S                                     0.00                      0.00                                                       0.00                        FA
     SPOUSE IS THE INS
 34. AAA TERM LIFE POLICY (DEBTOR'S SPOUSE IS THE                                   0.00                      0.00                                                       0.00                        FA
     INSURED; DEATH
 35. 529 COLLEGE FUND                                                        86,903.00                        0.00                                                       0.00                        FA
 36. FIDELITY ROTH IRA ACCOUNT                                                      0.00                      0.00                                                       0.00                        FA
 37. 401K                                                                   510,500.00                        0.00                                                       0.00                        FA
                                                                                                                                                                                           Page:       3
                                                  Case 8:15-bk-10426-CPM               Doc 75        Filed 04/27/18            Page 3 of 14
                                                                               FORM 1
                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                            ASSET CASES
Case No:             15-10426                       CPM    Judge:        Catherine Peek McEwen                       Trustee Name:                      Larry S. Hyman, Chapter 7 Trustee
Case Name:           JAWAHARLAL KOTHA                                                                                Date Filed (f) or Converted (c):   10/14/2015 (f)
                     POORNIMA KOTHA                                                                                  341(a) Meeting Date:               11/17/2015
For Period Ending:   03/31/2018                                                                                      Claims Bar Date:                   02/25/2016


                                  1                                     2                            3                            4                          5                             6

                         Asset Description                            Petition/                Est Net Value              Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)               Unscheduled            (Value Determined by              Abandoned                  Received by                Administered (FA)/
                                                                      Values                Trustee, Less Liens,             OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                Exemptions,                                                                              Assets
                                                                                              and Other Costs)

 38. ROTH IRA                                                                 9,800.00                        0.00                                                       0.00                        FA
 39. ANNUITY HELD BY FIDELITY                                                 6,750.00                        0.00                                                       0.00                        FA
 40. ANNUITY HELD BY LINCOLN FINANCIAL                                       11,000.00                        0.00                                                       0.00                        FA
 41. ANNUITY HELD BY METLIFE                                                 67,250.00                        0.00                                                       0.00                        FA
 42. ANNUITY HELD BY PRUDENTIAL                                              17,000.00                        0.00                                                       0.00                        FA
 43. FXCM BROKERAGE ACCOUNT                                                       197.34                   197.34                                                     197.34                         FA
 44. IBM STOCK                                                                    887.64                   887.64                                                     887.64                         FA
 45. MOSAIC PROPERTIES, LLC; ASSETS = COMPUTER                                1,020.79                   1,020.79                                                 1,020.79                           FA
     ($300); TABLETS (
 46. US GOVERNMENT BONDS                                                          300.00                   300.00                                                     300.00                         FA
 47. US GOVERNMENT BONDS                                                          300.00                   300.00                                                     300.00                         FA
 48. 2001 LEXUS GS 300 WITH 125,000 MILES; VALUE                              2,350.00                   1,350.00                                                 1,350.00                           FA
     DETERMINED USIN
 49. OFFICE SUPPLIES AND TABLET                                                    87.50                    87.50                                                      87.50                         FA
 50. CREDIT BALANCE WITH PEOPLES GAS                                              900.63                   900.63                                                     900.63                         FA
 51. Void (u)                                                                       0.00                      N/A                                                        0.00                        FA
 52. Rental PROPERTY - 1108 POINT ORLANDO                                           0.00                      0.00                                                8,951.80                           FA
 53. Rental PROPERTY - 13126 THOROUGHBRED LOOP                                      0.00                      0.00                                                5,998.09                           FA
 54. Rental PROPERTY - 8783 CHRISTIE DRIVE                                          0.00                      0.00                                                7,650.05                           FA
 55. Rental PROPERTY - 13911 ABBEY LANE                                             0.00                      0.00                                                7,019.06                           FA
 56. RENTAL PROPERTY - 8876 CHRISTIE DRIVE                                          0.00                      0.00                                                3,647.32                           FA
 57. RENTAL PROPERTY-7765 75th Way                                          235,000.00                   Unknown                                                 10,403.78                           FA
 58. OTHER PERSONAL PROPERTY                                                        0.00                      0.00                                                5,719.33                           FA


                                                                                                                                                                      Gross Value of Remaining Assets
                                                                                                                                                                                             Page:        4

TOTALS (Excluding Unknown Values)
                                                   Case 8:15-bk-10426-CPM       Doc 75
                                                                    $1,438,195.22
                                                                                                              Filed  04/27/18
                                                                                                               $448,352.46
                                                                                                                                         Page 4 of 14                 $61,166.10                     $0.00
                                                                                                                                                                          (Total Dollar Amount in Column 6)


Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

file merged with spouse,(ADMINISTRATIVELY CONSOLIDATED WITH 8:15-bk-12524-CPM

collection of rental payments ongoing

On-going collection of rental income.

Debtor buying back over exempt personal property

06\30\16 Debtor BB of personal property complete. Still collecting rents.

10/25/16 Continuing to collect rents 1108 Point, Orlando

3/31/17 This case is being jointly administered with wife's case. POC bar date in wife's case (15-12524) runs on 4/17/17. Once claims bar date runs, TFR will be filed.

4/21/17 Communications with C Burnette UST re: case issues involving consolidation with 8:15-bk-12524-CPM

5/1/17 Add'l communications with C Burnette UST re: case issues involving consolidation with 8:15-bk-12524-CPM

5/4/17 Meet with C Burnette. Determine that cases must be de-consolidated and administered separately 8:15-bk-12524-CPM

6/21/17 Begin process of determining what assets, and resulting cash from liquidation, belong to each estate 8:15-bk-12524-CPM

8/7/17 Complete process of determining what assets, and resulting cash from liquidation, belong to each estate 8:15-bk-12524-CPM

8/21/17 Begin drafting of pleading to separate cases so they can be administered separately 8:15-bk-12524-CPM




Initial Projected Date of Final Report (TFR): 03/30/2016            Current Projected Date of Final Report (TFR): 09/30/2017

Trustee Signature:       /s/ Larry S. Hyman, Chapter 7 Trustee         Date: 04/27/2018
                         Larry S. Hyman, Chapter 7 Trustee
                         P.O. Box 18625
                         Tampa, FL 33679
                         (813) 875-2701
                                                                                                                                                                                               Page:           1
                                                 Case 8:15-bk-10426-CPM              Doc  752 Filed 04/27/18 Page
                                                                                       FORM                                                   5 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                         Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
   12/03/15            52       1108 Point Orlando                       RENT                                                  1122-000                    $752.91                                    $752.91

   12/03/15            56       Broderick & Associates                   RENT                                                  1122-000                    $446.75                                 $1,199.66

   12/03/15            55       Broderick & Associates                   RENT                                                  1122-000                    $563.00                                 $1,762.66

   12/03/15            57       Broderick & Associates                   RENT                                                  1122-000                 $1,016.56                                  $2,779.22

   12/03/15            54       Broderick & Associates                   RENT                                                  1122-000                    $516.50                                 $3,295.72

   12/03/15            53       Broderick & Associates                   RENT                                                  1122-000                    $537.27                                 $3,832.99

   12/15/15            54       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                 $1,446.75                                  $5,279.74

   12/15/15            55       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                 $1,708.00                                  $6,987.74

   12/15/15            53       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                 $1,460.24                                  $8,447.98

   12/15/15            57       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                 $2,016.56                                $10,464.54

   12/15/15            54       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                 $1,316.50                                $11,781.04

   12/31/15                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $10.00          $11,771.04
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/05/16            52       JAWAHARLAL KOTHA                         RENT                                                  1122-000                    $643.99                               $12,415.03

   01/14/16                     BRODERICK & ASSOCIATES, INC              RENT                                                                           $4,238.31                                $16,653.34
                                5514 PARK BLVD NORTH
                                PINELLAS PARK, FL 33781-3326
                                                                         Gross Receipts                           $4,238.31

                       53                                                Rental PROPERTY - 13126                   $695.50     1122-000
                                                                         THOROUGHBRED LOOP
                       54                                                Rental PROPERTY - 8783                    $766.50     1122-000
                                                                         CHRISTIE DRIVE

                                                                                Page Subtotals:                                                       $16,663.34                 $10.00
                                                                                                                                                                                               Page:           2
                                                 Case 8:15-bk-10426-CPM              Doc  752 Filed 04/27/18 Page
                                                                                       FORM                                                   6 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                         Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
                       55                                                Rental PROPERTY - 13911                   $813.00     1122-000
                                                                         ABBEY LANE
                       56                                                RENTAL PROPERTY - 8876                    $696.75     1122-000
                                                                         CHRISTIE DRIVE
                       57                                                RENTAL PROPERTY-7765                     $1,266.56    1122-000
                                                                         75th Way
   01/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $20.77          $16,632.57
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/02/16            52       JAWAHARLAL KOTHA                         RENT                                                  1122-000                    $697.45                               $17,330.02

   02/12/16            55       BRODERICK & ASSOCIATES                   RENT                                                  1122-000                    $813.00                               $18,143.02

   02/12/16            53       BRODERICK & ASSOCIATES                   RENT                                                  1122-000                    $882.12                               $19,025.14

   02/12/16            57       BRODERICK & ASSOCIATES                   RENT                                                  1122-000                 $1,266.56                                $20,291.70

   02/12/16            56       BRODERICK & ASSOCIATES                   RENT                                                  1122-000                    $514.71                               $20,806.41

   02/12/16            54       BRODERICK & ASSOCIATES                   RENT                                                  1122-000                    $766.50                               $21,572.91

   02/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $26.28          $21,546.63
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/08/16            52       1108 POINT ORLANDO LLC                   RENT                                                  1122-000                    $711.40                               $22,258.03
                                20617 WHITEBUD CT
                                TAMPA, FL 33647-3654
   03/17/16                     Broderick & Associates                   RENT                                                                           $4,332.60                                $26,590.63

                                                                         Gross Receipts                           $4,332.60

                       53                                                Rental PROPERTY - 13126                   $789.79     1122-000
                                                                         THOROUGHBRED LOOP
                       54                                                Rental PROPERTY - 8783                    $766.50     1122-000
                                                                         CHRISTIE DRIVE



                                                                                Page Subtotals:                                                         $9,984.34                $47.05
                                                                                                                                                                                               Page:           3
                                                 Case 8:15-bk-10426-CPM              Doc  752 Filed 04/27/18 Page
                                                                                       FORM                                                    7 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                          Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                        Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction                Uniform Tran.      Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                           ($)
                       55                                                Rental PROPERTY - 13911                    $813.00     1122-000
                                                                         ABBEY LANE
                       56                                                RENTAL PROPERTY - 8876                     $696.75     1122-000
                                                                         CHRISTIE DRIVE
                       57                                                RENTAL PROPERTY-7765                      $1,266.56    1122-000
                                                                         75th Way
   03/31/16                     Bank of Kansas City                      Bank Service Fee under 11                              2600-000                                         $34.88          $26,555.75
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/01/16            52       1108 POINT ORLANDO LLC                   RENT                                                   1122-000                   $653.22                               $27,208.97

   04/12/16            53       BRODERICK & ASSOCIATES                   RENT                                                   1122-000                   $906.37                               $28,115.34

   04/12/16            55       BRODERICK & ASSOCIATES                   RENT                                                   1122-000                   $788.00                               $28,903.34

   04/12/16            57       BRODERICK & ASSOCIATES                   RENT                                                   1122-000                $1,266.56                                $30,169.90

   04/12/16            54       BRODERICK & ASSOCIATES                   RENT                                                   1122-000                   $766.50                               $30,936.40

   04/12/16            56       BRODERICK & ASSOCIATES                   RENT                                                   1122-000                   $595.61                               $31,532.01

   04/29/16                     JAWAHARLAL KOTHA                         BUYBACK                                                                      $10,000.00                                 $41,532.01
                                20617 WHITEBUD CT                        wife's payment agree
                                TAMPA, FL 33647-3654
                                                                         Gross Receipts                           $10,000.00

                        4                                                CASH ($2,320) *OWNED                      $1,160.00    1129-000
                                                                         JOINTLY WITH SPOUSE.
                        5                                                BANK OF AMERICA                           $1,602.92    1129-000
                                                                         CHECKING (6383)
                        6                                                BANK OF AMERICA                            $261.21     1129-000
                                                                         CHECKING (7200) TOTAL
                                                                         BALANCE = $2,089.72 *O
                        7                                                BANK OF AMERICA SAVINGS                   $1,142.75    1129-000
                                                                         (9173) TOTAL BALANCE =
                                                                         $9,143.71 *OW


                                                                                Page Subtotals:                                                       $14,976.26                 $34.88
                                                                                                                                                                                          Page:           4
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                                                              ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                    Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                  Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                         Account Number/CD#: XXXXXX6383
                                                                                                                                   Checking
  Taxpayer ID No: XX-XXX1563                                                                      Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                     Separate Bond (if applicable):


       1                2                     3                                              4                                                     5                   6                     7

Transaction Date    Check or        Paid To / Received From                      Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                Code                                                            ($)
                        8                                           BANK OF AMERICA                            $20.47     1129-000
                                                                    BUSINESS CHECKING (1478)
                        9                                           WELLS FARGO CHECKING                       $12.74     1129-000
                                                                    (6878) TOTAL BALANCE =
                                                                    $25.47 *OWNED JO
                       10                                           WELLS FARGO CHECKING                      $500.25     1129-000
                                                                    (7579) TOTAL BALANCE =
                                                                    $1,000.50 *OWNED
                       11                                           REGIONS CHECKING (3210)                   $104.65     1129-000

                       12                                           PNC BANK CHECKING (0177)                  $407.70     1129-000

                       13                                           REGIONS SAVINGS (8125)                     $53.06     1129-000
                                                                    TOTAL BALANCE = $106.11
                                                                    *OWNED JOINTL
                       15                                           PNC BANK SAVINGS (9341)                      $2.00    1129-000

                       16                                           WELLS FARGO BUSINESS                       $48.26     1129-000
                                                                    CHECKING (2599) TOTAL
                                                                    BALANCE = $96.52
                       18                                           BUSINESS CHECKING HELD                     $12.01     1129-000
                                                                    BY BANK OF AMERICA
                                                                    ($36.38) *THIS WAS
                       20                                           3 BEDS AND A DAYBED                       $752.25     1129-000
                                                                    ($235), 2 DRESSERS ($65), 4
                                                                    NIGHTSTANDS
                       21                                           MIRRORS AND WALL ART                      $332.50     1129-000
                                                                    ($500.50); PLANTS ($19.50);
                                                                    BOOKS ($145
                       22                                           CLOTHING & APPAREL                        $200.00     1129-000

                       23                                           RING ($60)                                 $60.00     1129-000

                       24                                           GOLF CLUBS ($40),                          $60.00     1129-000
                                                                    CAMERAS ($30) AND
                                                                    BICYCLES ($50)
                       43                                           FXCM BROKERAGE                            $197.34     1129-000
                                                                    ACCOUNT


                                                                           Page Subtotals:                                                              $0.00                $0.00
                                                                                                                                                                                               Page:           5
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                                                                                       FORM                                                   9 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                         Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
                       44                                                IBM STOCK                                 $887.64     1129-000

                       45                                                MOSAIC PROPERTIES, LLC;                  $1,020.79    1129-000
                                                                         ASSETS = COMPUTER
                                                                         ($300); TABLETS (
                       46                                                US GOVERNMENT BONDS                       $300.00     1129-000

                       47                                                US GOVERNMENT BONDS                       $300.00     1129-000

                       48                                                2001 LEXUS GS 300 WITH                    $561.46     1129-000
                                                                         125,000 MILES; VALUE
                                                                         DETERMINED USIN
   04/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $42.08          $41,489.93
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/11/16            52       1108 POINT ORLANDO LLC                   RENT                                                  1122-000                    $843.94                               $42,333.87
                                20617 WHITEBUD CT
                                ORLANDO, FL 33647-3654
   05/12/16            53       BRODERICK & ASSOCIATES, INC.             RENT                                                  1122-000                    $726.80                               $43,060.67

   05/12/16            55       BRODERICK & ASSOCIATES, INC              RENT                                                  1122-000                    $810.29                               $43,870.96

   05/12/16                     BRODERICK & ASSOCIATES, INC.             RENT                                                                           $2,729.81                                $46,600.77

                                                                         Gross Receipts                           $2,729.81

                       54                                                Rental PROPERTY - 8783                    $766.50     1122-000
                                                                         CHRISTIE DRIVE
                       56                                                RENTAL PROPERTY - 8876                    $696.75     1122-000
                                                                         CHRISTIE DRIVE
                       57                                                RENTAL PROPERTY-7765                     $1,266.56    1122-000
                                                                         75th Way
   05/13/16                     JAWAHARLAL KOTHA                         BUYBACK                                                                        $4,000.00                                $50,600.77
                                20617 WHITEBUD COURT
                                TAMPA, FL 33647
                                                                         Gross Receipts                           $4,000.00



                                                                                Page Subtotals:                                                         $9,110.84                $42.08
                                                                                                                                                                                               Page:           6
                                                Case 8:15-bk-10426-CPM               Doc 75 2 Filed 04/27/18 Page
                                                                                       FORM                                                   10 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                         Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction               Uniform Tran.       Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                            ($)
                       48                                                2001 LEXUS GS 300 WITH                    $788.54     1129-000
                                                                         125,000 MILES; VALUE
                                                                         DETERMINED USIN
                       49                                                OFFICE SUPPLIES AND                        $87.50     1129-000
                                                                         TABLET
                       50                                                CREDIT BALANCE WITH                       $900.63     1129-000
                                                                         PEOPLES GAS
                       58                                                OTHER PERSONAL                           $2,223.33    1129-000
                                                                         PROPERTY
   05/31/16            58       JAWAHARLAL KOTHA                         SETTLEMENT                                            1129-000                 $3,496.00                                $54,096.77

   05/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $66.51          $54,030.26
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   06/13/16            52       JAWAHARLAL KOTHA                         RENT PAYMENT 7383 Univ                                1122-000                    $723.64                               $54,753.90
                                20617 WHITEBUD COURT                     Blvd
                                TAMPA, FL 33647
   06/21/16                     BRODERICK & ASSOCIATES, INC.             RENT                                                                           $1,575.66                                $56,329.56

                                                                         Gross Receipts                           $1,575.66

                       54                                                Rental PROPERTY - 8783                    $537.80     1122-000
                                                                         CHRISTIE DRIVE
                       57                                                RENTAL PROPERTY-7765                     $1,037.86    1122-000
                                                                         75th Way
   06/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $78.10          $56,251.46
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/29/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $83.37          $56,168.09
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $83.25          $56,084.84
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/30/16                     Bank of Kansas City                      Bank Service Fee under 11                             2600-000                                          $80.44          $56,004.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)

                                                                                Page Subtotals:                                                         $5,795.30               $391.67
                                                                                                                                                                                               Page:           7
                                                Case 8:15-bk-10426-CPM               Doc 75 2 Filed 04/27/18 Page
                                                                                       FORM                                                  11 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                        Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                             3                                           4                                                    5                    6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)       Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                             ($)
   10/07/16            52       1108 Point Orlando LLC                   RENT                                                 1122-000                     $944.26                               $56,948.66

   10/07/16            52       1108 Point Orlando LLC                   RENT                                                 1122-000                     $563.38                               $57,512.04

   10/07/16            55       1108 Point Orlando LLC                   RENT                                                 1122-000                     $710.77                               $58,222.81

   10/07/16            52       1108 Point Orlando LLC                   RENT                                                 1122-000                     $448.77                               $58,671.58

   10/31/16                     Bank of Kansas City                      Bank Service Fee under 11                            2600-000                                           $84.87          $58,586.71
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/30/16                     Bank of Kansas City                      Bank Service Fee under 11                            2600-000                                           $84.03          $58,502.68
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/30/16                     Bank of Kansas City                      Bank Service Fee under 11                            2600-000                                           $86.71          $58,415.97
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/31/17                     Bank of Kansas City                      Bank Service Fee under 11                            2600-000                                           $86.82          $58,329.15
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/28/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                           $78.30          $58,250.85
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                           $86.57          $58,164.28
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   04/12/17            52       1108 POINT ORLANDO LLC                   DEPOSIT                                              1122-000                  $1,968.84                                $60,133.12
                                20617 WHITEBUD CT
                                TAMPA, FL 33647-3654
   04/28/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                           $84.96          $60,048.16
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   05/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                           $89.24          $59,958.92
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)




                                                                                Page Subtotals:                                                         $4,636.02               $681.50
                                                                                                                                                                                              Page:           8
                                                Case 8:15-bk-10426-CPM               Doc 75 2 Filed 04/27/18 Page
                                                                                       FORM                                                  12 of 14
                                                                   ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD
           Case No: 15-10426                                                                                         Trustee Name: Larry S. Hyman, Chapter 7 Trustee
      Case Name: JAWAHARLAL KOTHA                                                                                      Bank Name: BOK Financial
                   POORNIMA KOTHA                                                                             Account Number/CD#: XXXXXX6383
                                                                                                                                       Checking
  Taxpayer ID No: XX-XXX1563                                                                          Blanket Bond (per case limit): $3,802,000.00
For Period Ending: 03/31/2018                                                                         Separate Bond (if applicable):


       1                2                          3                                              4                                                    5                   6                     7

Transaction Date    Check or             Paid To / Received From                     Description of Transaction              Uniform Tran.        Deposits ($)      Disbursements ($)    Account/CD Balance
                    Reference                                                                                                    Code                                                            ($)
   06/30/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $86.24          $59,872.68
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   07/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $88.98          $59,783.70
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   08/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $88.85          $59,694.85
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   09/29/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $85.86          $59,608.99
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   10/31/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $88.59          $59,520.40
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   11/30/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $85.61          $59,434.79
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   12/29/17                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $88.33          $59,346.46
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   01/31/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $88.20          $59,258.26
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   02/28/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $79.55          $59,178.71
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)
   03/30/18                     BOK Financial                            Bank Service Fee under 11                            2600-000                                          $87.95          $59,090.76
                                                                         U.S.C. 330(a)(1)(B), 503(b)
                                                                         (1), and 507(a)(2)


                                                                                                         COLUMN TOTALS                                $61,166.10            $2,075.34
                                                                                                              Less: Bank Transfers/CD's                     $0.00                $0.00
                                                                                                         Subtotal                                     $61,166.10            $2,075.34
                                                                                                              Less: Payments to Debtors                     $0.00                $0.00


                                                                                Page Subtotals:                                                             $0.00              $868.16
                                                                                          Page:   9
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                                    Net   04/27/18   Page 13 of 14
                                                                 $61,166.10   $2,075.34




                  Page Subtotals:                                     $0.00      $0.00
                                                                                                                                                                      Page:     10
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                                                                                                 TOTAL OF ALL ACCOUNTS
                                                                                                                                                  NET             ACCOUNT
                                                                                                               NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                                   XXXXXX6383 - Checking                                            $61,166.10               $2,075.34            $59,090.76
                                                                                                                    $61,166.10               $2,075.34            $59,090.76

                                                                                                              (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                                      transfers)            to debtors)
                                                   Total Allocation Receipts:                        $0.00
                                                   Total Net Deposits:                           $61,166.10
                                                   Total Gross Receipts:                         $61,166.10



Trustee Signature:   /s/ Larry S. Hyman, Chapter 7 Trustee   Date: 04/27/2018

                     Larry S. Hyman, Chapter 7 Trustee
                     P.O. Box 18625
                     Tampa, FL 33679
                     (813) 875-2701




                                                                           Page Subtotals:                                           $0.00                $0.00
